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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION

CHRISTOPHER EVERETT,
ADC #152664                                                                    PLAINTIFF

v.                        CASE NO. 3:20-CV-000192-BSM

TERRIE BANISTER, et al.                                                    DEFENDANTS

                                      JUDGMENT

     Consistent with the order entered on this date, this case is dismissed without prejudice.

     IT IS SO ORDERED this 19th day of October, 2020.


                                                   ________________________________
                                                   UNITED STATES DISTRICT JUDGE
